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SUPERIOR COURT OF THE STATE OF CALIFORNIA
COUNTY OF LOS ANGELES, CENTRAL DISTRICT

In re the Conservatorship of the Person of: CASE NO. BP [0 §§ 70
BRITNEY JEAN SPEARS, MEMORANDUM OF POINTS AND
AUTHORITIES IN SUPPORT OF
Proposed Conservatee. APPLICATION TO SEAL RECORD RE

CONSERVATORSHIP OF THE PERSON

Date: February 1, 2008
Time: 10:30 a.m
Department: A

INTRODUCTION

Applicant James P. Spears (“Applicant”) has initiated these proceedings to appoint a
conservator of the person for his daughter, Britney Jean Spears (“Britney”). By this application,
Applicant respectfully asks the Court to seal the record of these proceedings to protect Britney’s
constitutionally protected privacy rights and safety as well as her prospects for a medical
recovery.

The Court should seal the record of these proceedings because there is no First

Amendment right of public access to proceedings brought by a conservator for the purpose of

addressing the medical needs and personal care of a conservatee. Even if there were a First
Amendment right of public access to conservatorship proceedings — which there is not — the right

of public access may be overcome where there “exists an overriding interest that overcomes the

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right of public access to the record.” Cal. R. Court 2.550(d). See NBC Subsidiary (KNBC-TYV),
Inc. v. Superior Court, 20 Cal. 4th 1178 (1999). Britney’s inalienable constitutional right to
privacy constitutes such an overriding interest. In balancing the constitutional right of privacy
against the right of access to court proceedings, the balance in this case must lie heavily on the
side of privacy right protection.

There is no legitimate reason for the public to have access to information about Britney’s
capacity to make medical decisions, her condition, or her treatment. Information about Britney’s
condition and the conservatorship would fuel widespread publicity, as is evidenced by the media
frenzy over her hospitalization on the morning of January 31, 2008. Publicity of this nature

would be highly injurious to Britney’s health and her prospects for recovery.

FACTUAL BACKGROUND

Because facts concerning Britney’s medical condition are set forth in the Petition for
Conservatorship and the declarations filed in support thereof, Applicant will not burden the
Court by repeating all of such facts here.

These proceedings were initiated because Britney is unable to care for herself and in
particular, her medical needs. Britney is currently in severe mental distress. As is more fully
discussed in the Confidential Supplemental Information, it is believed that Britney suffers from
several mental health disorders which are not being treated and which Britney does not have the
capacity to treat. The purpose of the Petition is to obtain the power to get Britney effective
medical treatment, including mental health treatment.

A google search for Conservatee’s name yields 82,900,000 hits. Any news about the
proposed Conservatee generates a media frenzy. She is constantly swarmed by photographers.
They vie for news and photographs of her. Photographs and personal information, particular
information of a highly confidential nature (such as her medical records) can potentially reap
thousands if not millions of dollars. The possibility of such enormous profits presents a
substantial risk that Britney’s most confidential medical and personal information will be

disclosed (for example, incredibly, the 5150 report has been leaked to the media virtually

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verbatim). Because original documents carry a premium, there is also a substantial risk to the
security of he Court file.

Further, as discussed at length in the declaration of Lynne Spears, Britney’s mother, the
Conservatee is currently subject to the influence of Osami Lutfi. Mr. Lutfi has been exerting
total control over Britney’s life, home, and finances. See Declaration of Lynne Spears, $9 2-20.
Mr. Lutfi has disabled Britney’s cars and has disconnected her home telephone line and disposed
of the chargers for her cell phones. See id, {9 3,7, 11, 14. He has been putting crushed pills
into Britney’s food. See id, 98. He has admitted paparazzi into Britney’s home. See id, § 3,

5.

On the evening of January 29, 2008, Mr. Lutfi told Lynne Spears that “You'd better learn
that I control everything.” Jd, 99. Mr. Lutfi told her that he controlled Britney’s business
manager Howard Grossman, her attorneys, and the security guards at the gate. See id He told

Lynne Spears that if he weren’t in the house to give Britney her medication she would kill

herself, and that, if Lynne Spears tried to get rid of him, Britney will “be dead and [’ll piss on her

grave.” /d, § 10.

LEGAL ARGUMENT

[. THERE IS NO CONSTITUTIONAL RIGHT OF PUBLIC ACCESS TO
CONSERVATORSHIP PROCEEDINGS.

In NBC Subsidiary (KNBC-TV), Inc., 20 Cal. 4th at 1212 & n.30, the California Supreme

Court held that “in general, the First Amendment provides a right of access to ordinary civil
trials and proceedings,” but it acknowledged that its opinion “address[ed] . . . the right of access
to ordinary civil proceedings in general, and not any right of access to particular proceedings
governed by specific statutes.” Jd

NBC Subsidiary recognized that, as a matter of United States Supreme Court authority,

the determination whether “proceedings are sufficiently different from ‘ordinary civil trials and

proceedings’ to justify a different conclusion on the right of access” requires consideration of
whether open proceedings (1) are supported by historical tradition and (2) would promote

utilitarian considerations. Jn re Marriage of Burkle, 135 Cal. App. 4" 1045, 1054-57 (2006).

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Put otherwise, “[i]n determining whether the constitutional right of access attaches to a particular
proceeding, the United States Supreme Court has set forth two related considerations: first,
whether the place and process historically have been open to the public and, second, whether
public access plays a significant positive role in the particular process.” People v. Dixon, 148
Cal. App. 4" 414, 425 (2007) (citing Press-Enterprise Co. v. Superior Court, 478 U.S. 1, 8
(1986) (“Press-Enterprise IP)). Consideration of these two factors demonstrates that there is no
First Amendment right of public access to the conservatorship proceedings at issue in this case.

This is a proceeding brought under Cal. Prob. Code § 1820 for the appointment of a
conservator of the person because the proposed conservatee — Britney — is unable to provide for
certain of her needs. This proceeding involves a determination relating to mental health and
medical conditions and treatments, which are very personal and confidential matters, with a long
history of constitutional protection.

Furthermore, the legislative history to Cal. Prob. Code § 2357, the statute authorizing the
Court to order that a conservator has the authority to consent on behalf of the conservatee to
certain medical treatment, indicates that there is no “historical tradition” of public access to such
proceedings. The Law Revision Commission Comment to the 1990 Enactment of Section 2357
states that “Section 2357 serves the same purpose as Section 5358.2 of the Welfare and
Institutions Code (Lanterman-Petris-Short Act).” Id. Because there is no right of public access
to proceedings under the Lanterman-Petris-Short Act, see Dixon, 148 Cal. App. 4" at 427 (noting
that by statute, civil commitment proceedings under the Lanterman-Petris-Short Act are private
unless the parties request otherwise) (discussing Cal. Welf. & Inst. Code § 51 18)), it follows that
there is no historical right of access to the same sort of proceedings when brought pursuant to the
conservatorship statutes.

Turning to the second factor, public access would undermine the goal OF proceedings
brought by a conservator to obtain court-ordered medical treatment. As the Dixon court recently
noted in the context of a civil commitment proceeding brought pursuant to the Sexually Violent

Predators Act (the “SVPA”), Cal. Welf. & Inst. Code §§ 6600 et seq.:

... {IJnvoluntary civil commitment proceedings typically are closed proceedings.
Because such proceedings are aimed at determining the status of a person’s
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mental health, they involve primarily personal and confidential matters. As
with juvenile dependency proceedings, while openness would expose any
deficiencies and allow for improvements in the process, it would seriously
undermine the goals involved in these cases.

Dixon, 148 Cal. App. 4"" at 427-28 (emphasis added).

The Court in Dixon noted that there is no right to attend juvenile dependency
proceedings. Based upon this same analysis, the Dixon court found that “{t]he two
considerations . . . set forth in Press-Enterprise II... appear to weigh against extending the
public right of access to involuntary civil commitment proceedings.” /d. at 428. The Dixon
court further noted that “the court cannot serve as a conduit through which confidential
information is transmitted to other members of the public,” and that “confidential reports . . .
used during civil commitment proceedings . . . nonetheless retain their confidential nature and
should not be made available to the public.” /d. at 429.

Although the Dixon court recognized that there is “a compelling basis for arguing that
involuntary civil commitment proceedings under the SVPA are not ordinary civil proceedings
that must be open to the public,” it declined to require absolute closure in cases involving civil
commitment absent specific statutory authority because: (1) “[o]ur Supreme Court has made it
clear that courts should attempt to safeguard the defendant’s rights through less restrictive means
rather than completely barring public access”; (2) “while civil commitment proceedings involve
a determination of the defendant’s mental health, the case also involves the defendant’s past
convictions, which are a matter of public concern and the records of which already are available
to the public”; and (3) “a sexually violent predator has a lesser expectation of privacy in his
psychological records.” /d. at 430.

Here, in contrast to Dixon, there is no need to defer to the Legislature for a determination
whether there is a right of public access to proceedings brought by a conservator for the purpose
of addressing the medical and personal care needs of a conservatee. Denial of public access is
supported by not only historical factors — the historical lack of public access to such proceedings,
which are wholly statutory in nature ~ but by the fact that such access would impede the
willingness of the conservator and the medical professionals to provide the personal and

confidential information concerning the conservatee’s mental and physical health that the Court
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needs in order to make an informed decision. Furthermore, unlike in Dixon: (1) a conservatee’s
medical information is not a matter of public concern and has not previously been disclosed to
the public; and (2) a conservatee — unlike a sexually violent predator — has a full expectation of
privacy with respect to his or her mental and physical health and medical records.
For these reasons, the Court should find that there is no First Amendment right of public
access to proceedings brought by a conservator to obtain court-ordered medical treatment for a
conservatee, and it therefore should seal these proceedings without the need to consider the
factors set forth in Cal. R. Court 2.550.
II. THE COURT SHOULD SEAL THE RECORD OF THESE PROCEEDINGS IN
ORDER TO PROTECT BRITNEY’S OVERRIDING INTERESTS IN PRIVACY

AND SAFETY AND HER ABILITY TO RECEIVE REQUIRED EFFECTIVE
MEDICAL TREATMENT.

Assuming arguendo that the public has a First Amendment right of access to
conservatorship proceedings — which it does not — this motion to seal would be subject to the
standard and procedures set forth in Cal. R. Court 2.550 and 2.551.! Under Cal. R. Court
2.550(d), which is based on the standards enunciated by the Supreme Court in NBC Subsidiary
(KNBC-TV), Inc., 20 Cal. 4" 1178, a court may seal the record “if it expressly finds facts that
establish”:

(1) There exists an overriding interest that overcomes the right of
public access to the record;

(2) The overriding interest supports sealing the record;

(3) A substantial probability exists that the overriding interest will be
prejudiced if the record is not sealed;

(4) The proposed sealing is narrowly tailored; and

(5) No less restrictive means exist to achieve the overriding interest.

Id. See Advisory Committee Comment to Cal. R. Court 2.550 (“[c]ourts have found that, under
appropriate circumstances, various statutory privileges, trade secrets, and privacy interests, when

properly asserted and not waived, may constitute ‘overriding interests’”).

' Prior to January 1, 2007, these standards and procedures were designated as Cal. R. Court
243.1 and 243.2, respectively.

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All five factors are present here.

A. There Exists Overriding Interests that Overcome the Right of Public Access
to the Record.

Here, Britney has three overriding interests, any of which, by itself, is sufficient to
support the sealing of these proceedings: (1) Britney’s right of privacy with regard to her
capacity to make medical decisions, her medical condition, and her treatment: (2) the potential]
danger to Britney that would be posed by the release of information concerning the
conservatorship; and (3) the detrimental effect that public disclosure of such information is likely
to have on Britney’s treatment. See Cal. R. Court 2.550(d)(1).

1. Sealing is Necessary to Protect Britney’s Right of Privacy.

The California Constitution guarantees Britney a right of privacy. See Cal Const., Art. I,
§ | (“All people are by nature free and independent and have inalienable rights. Among these
are .. . pursuing and obtaining safety, happiness and privacy.”). “A person’s medical history
undoubtedly falls within the recognized zones of privacy.” Johnson v. Superior Court, 80 Cal.
App. 4" 1050, 1068 (2000). See, e.g., Valley Bank of Nevada v. Superior Court, 15 Cal. 3d 652,
656 (1975) (the “right of privacy extends to . . . the details of one’s personal life”); Pettus v.
Cole, 49 Cal. App. 4"" 402, 440-41 (1996) (“[iJt is well settled that the zone of privacy created by
[the California Constitution] extend[s] to the details of a patient’s medical and psychiatric
history”); Board of Medical Quality Assurance v. Gherardini, 93 Cal. App. 3d 669, 678 (1979)
(“[a] person’s medical profile is an area of privacy infinitely more intimate, more personal in
quality and nature than many areas already judicially recognized and protected”).

For purposes of the sealing analysis, the courts recognize that “in appropriate
circumstances, the right to privacy may be properly described as a compelling or overriding
interest.” Burkle, 135 Cal. App. 4" at 1063. In order to protect the right of privacy, “it is
appropriate to seal certain records when those particular records contain highly sensitive and

potentially embarrassing personal information about individuals.” People v. Jackson, 128 Cal.

App. 4"" 1009, 1024 (2005).

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Britney’s right to maintain in confidence her medical information is also protected under
the Confidentiality of Medical Information Act, Cal. Civ. Code §§ 56 ef seg.” While that Act
imposes disclosure restrictions only on health care providers, see Cal. Civ. Code § 56.10(a), the
Act’s privacy protections are relevant to the Court’s determination as to seal these proceedings
under the doctrine that (1) “the court cannot serve as a conduit through which confidential
information ts transmitted to other members of the public” and (2) “confidential reports ... used
during civil commitment proceedings . . . nonetheless retain their confidential nature and should
not be made available to the public,” Dixon, 148 Cal. App. 4" at 429.

2. Sealing is Necessary to Protect Britney’s Safety.

As the facts set forth above and spelled out in more detail in the declaration of Lynne
Spears demonstrate, there is a real possibility that Mr. Lutfi may pose a danger to Britney. The
release of information concerning the conservatorship over Britney — and, in particular, the
detailed and specific allegations concerning Mr. Lutfi’s conduct with regard to Britney, as well
as the psychological issues relating to his influence over her — would increase the likelihood that

Mr. Lutfi will act violently against Britney or those associated with her.

3. Sealing is Necessary to Protect Britney’s Interest in Medical
Treatment.

The Court should seal these proceedings in order to protect Britney’s overriding interest
in receiving effective and necessary medical treatment. In Estate of Hearst, 67 Cal. App. 3d 777,
781, 784-85 (1977), the court recognized that the First Amendment right of public access must
yield to a showing that disclosure of information would place individuals “in serious danger of
loss of life or property.” See id. (holding that a sealing order might be appropriate where
disclosure of information concerning the location of homes and property of beneficiaries of the
testamentary trust of William Randolph Hearst might expose the beneficiaries to the risk of

terrorist attack).

Britney’s privacy interests in information concerning her medical condition and treatment is
further evidenced by the fact that under HIPAA, the Health Insurance Portability and
Accountability Act of 1996, medical personnel are prohibited from releasing such information.

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As stated above, these proceedings have been initiated in order to obtain treatment for
Britney’s very serious mental health disorders, The effective treatment of mental health issues
necessarily depends upon the subject’s confidence in the confidentiality of her relationship with
her care providers and treating physicians. Here, were the information towards which this
motion to seal is directed to be made public, such information would certainly be disseminated
widely by television and print media and over the Internet. Public disclosure of such information

would be likely to harm the effectiveness of Britney’s treatment.

B. The Overriding Interests Support Sealing the Record.

A sealing order is necessary to protect all three of Britney’s overriding interests. See Cal.
R. Court 2.550(d)(2). First, Britney’s overriding interest in privacy would be compromised by
public disclosure of the records of — or the existence of — these proceedings. Second, Britney’s
overriding interest in safety would be threatened if Mr. Lutfi were to learn of these proceedings

and the allegations made herein. Third, Britney’s overriding interest in effective medical

treatment would be impaired by public disclosure of her capacity to make medical decisions, her

medical condition, and her treatment.

Cc. There is a Substantial Probability that the Overriding Interests Will be
Prejudiced if the Record is Not Sealed.

Given the large amount of past and current media attention given to Britney and her
medical condition, there is far more than a substantial probability that her overriding interests
will be prejudiced if the record is not sealed. See Cal. R. Court 2.550(d)(2), (3). It is virtually
certain that, in the absence of a sealing order, Britney’s capacity to make medical decisions, her
medical condition, and her treatment conservatorship will receive widespread publicity, thereby

destroying her right of privacy with regard to such matters and increasing the risk that Mr. Lutfi

will act violently. There is also a substantial probability that such publicity will disrupt Britney’s

ability to receive effective medical treatment.

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D. The Proposed Sealing is as Narrowly Tailored as Possible, and No Less
I Restrictive Means Exist to Achieve the Overriding Interests.

2 The proposed sealing is as narrowly tailored as possible, and no less restrictive means

3 exist to achieve the overriding interest. See Cal. R. Court 2.550(d)(4), (5). For the reasons

4 discussed above, Britney’s interests in privacy, security, and obtaining effective medical

5 treatment may be protected only by preventing public disclosure of the fact that a

6 conservatorship proceeding has been commenced for her. Given the absence of any less

7 restrictive alternative that would protect Britney’s overriding interests, these proceedings must be

8 sealed in their entirety.

9 CONCLUSION

10 Applicant respectfully asks the Court to seal the record of Britney’s conservatorship in its
11 entirety.
12 DATED: February 1, 2008 Respectfully submitted,

13 LUCE, FORWARD, HAMILTON & SCRIPPS LLp

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16 Jéryll S. Cohen™
Attorneys for Applicant James P. Spears

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